Case 1:15-cv-00321-SKO   Document 534-7   Filed 09/12/23   Page 1 of 7




               EXHIBIT
                               4
Case
Case1:15-cv-00321-SKO  Document338-8
     1:15-cv-00321-SKO Document 534-7 Filed
                                        Filed 09/12/23Page
                                            02/13/18    Page
                                                           10 2
                                                              ofof
                                                                 347




                 EXHIBIT "4"

                          Exhibit 4, Page
                          Exhibit 4, Page 315
                                          315
Case
Case1:15-cv-00321-SKO  Document338-8
     1:15-cv-00321-SKO Document 534-7 Filed
                                        Filed 09/12/23Page
                                            02/13/18    Page
                                                           11 3
                                                              ofof
                                                                 347




 1                       UNITED STATES DISTRICT COURT

 2                      EASTERN DISTRICT OF CALIFORNIA

 3                                    --o0o--

 4   G.P.P., INC.,                        )     Case No. 1:15-cv-00321-SKO
                                          )
 5                     Plaintiff,         )     Fresno, California
                                          )     Thursday, June 22, 2017
 6         vs.                            )     8:26 A.M.
                                          )
 7   GUARDIAN PROTECTION PRODUCTS,        )     Jury Trial - Day 3.
     INC., et al.,                        )
 8                                        )
                       Defendants.        )
 9                                        )

10                        TRANSCRIPT OF PROCEEDINGS
                   BEFORE THE HONORABLE SHEILA K. OBERTO
11               UNITED STATES MAGISTRATE JUDGE, and a jury

12   APPEARANCES:
     For Plaintiff:                       JOHN P. FLYNN
13                                        COLLEEN BAL
                                          Wilson Sonsini Goodrich & Rosati
14                                        One Market Plaza
                                          Spear Tower, Suite 3300
15                                        San Francisco, CA   94105
                                          (415) 947-2130
16
                                          CRAIG BOLTON, PHV
17                                        JASON B. MOLLICK, PHV
                                          Wilson Sonsini Goodrich & Rosati
18                                        1301 Avenue of the Americas,
                                          40th Floor
19                                        New York, NY   10019
                                          (212)497-7723
20
                                          DYLAN J. LIDDIARD
21                                        Wilson Sonsini Goodrich & Rosati
                                          650 Page Mill Road
22                                        Palo Alto, CA   94304
                                          (650) 565-3534
23
     For Defendants:                      AARON P. RUDIN
24                                        CALVIN E. DAVIS
                                          Gordon & Rees, LLP
25                                        633 West Fifth Street, 52nd Flr.
                                          Los Angeles, CA    90071
                                          (213)576-5000




                          Exhibit 4, Page
                          Exhibit 4, Page 316
                                          316
Case
Case1:15-cv-00321-SKO  Document338-8
     1:15-cv-00321-SKO Document 534-7 Filed
                                        Filed 09/12/23Page
                                            02/13/18    Page
                                                           12 4
                                                              ofof
                                                                 347



                                Wrobel - Direct                        3-84



 1    A.   Yes, I have.

 2   Q.    And what are your opinions?

 3   A.    It's my opinion that the damages suffered by GIS as result

 4   of the actions by Guardian total $75,519,098.

 5   Q.    Mr. Wrobel, is there an error in your analysis?

 6   A.    Yes, there is.    The starting point, and -- and I think

 7   we'll discuss it a little bit later, for my analysis of lost

 8   profits was a spreadsheet prepared by Chris Taylor who is an

 9   executive of Guardian.      This was a spreadsheet that was

10   utilized to -- to calculate Guardian's -- or excuse me, GIS's

11   expected market share.

12         In that analysis, Mr. Taylor listed several different

13   territories.    However, Mr. Taylor excluded the territory of

14   Alabama and mistakenly included Kentucky instead of Tennessee.

15   I caught the first error with respect to Alabama and included

16   that in my analysis, but after my deposition I realized that

17   Kentucky should have been switched out with Tennessee and have

18   made that correction.

19   Q.    And if you switch out Tennessee for Kentucky or for --

20   Kentucky for Tennessee, what happens?

21   A.    Damages increase by about $1.49 million.      So the -- the

22   total damages are in fact about two percent higher, which would

23   be $76.9 million.

24   Q.    About two percent higher than what's reflected on the

25   screen right now?




                          Exhibit 4, Page
                          Exhibit 4, Page 317
                                          317
Case
Case1:15-cv-00321-SKO  Document338-8
     1:15-cv-00321-SKO Document 534-7 Filed
                                        Filed 09/12/23Page
                                            02/13/18    Page
                                                           13 5
                                                              ofof
                                                                 347



                                  Wrobel - Direct                         3-96


 1    damage that's separate from the lost profits calculations.             The

 2    commissions have to do with the five percent being paid by

 3    Guardian to GIS for Bob's Discount Furnitures being --

 4    warranties being sold within GIS's exclusive territory.          And

 5    that total of lost commissions is $1,050,049.

 6    Q.      And -- and how did you go about calculating the lost
 7    commission damages?

 a    A.      Well what I started with was I took a look at a Guardian

 9    document.     This -- this is document Guardian 9206 and this is a

10    summary of Guardian sales to Bob's Discount Furniture within

11    the exclusive GIS territories.         For example, this number for

12    2015 is -- indicates that Guardian sold $1.424 million worth of

13   furniture protection plans in the GIS's exclusive territory for

14    2015.    The next step would -- I created a schedule, and you can

15   see that 2015 the same number appears here, and projected that

16   going forward.

17           Now, the 2016 number was actually provided to me sometime

18   in June of 2016 so it was necessary to take that number and

19   adjust it for -- adjust it for the entire year of 2016.           And

20   then I grew the additional sales by 7.6 percent up through

21   2024.
22           I then multiplied the gross sales subject to the

23   commission going through 2024 by the five percent commission

24   rate to calculate what the lost commissions would be.          And
25   finally, I then also present valued it again to adjust it any




                           Exhibit 4, Page
                           Exhibit 4, Page 318
                                           318
Case
Case1:15-cv-00321-SKO  Document338-8
     1:15-cv-00321-SKO Document 534-7 Filed
                                        Filed 09/12/23Page
                                            02/13/18    Page
                                                           14 6
                                                              ofof
                                                                 347



                                 Wrobel - Cross                             3-97


 1    of the future amounts to today's dollars and the total is

 2   $1,050,049.

 3         And the source of the growth rate going forward is also a

 4   Guardian document.      This again is the Guardian Protection

 5   Products marketing and sales plan for 2016, Guardian 2643 and

 6   45, and you can see that this is Guardian talking about Bob's.

 7   Guardian's largest direct retail account is Bob's Discount

 8   Furniture which should account for $8.6 million in sales for

 9   fiscal year '16, an estimated 7.6 percent increase from fiscal

10   year 2015.    And that's source of the growth rate going into the

11   future.

12   Q.    Okay, and if you add the lost commissions to the lost

13   profits, the total damages are $75 million or thereabouts; is

14   that correct?

15   A.    That is correct, $75.5 million before the adjustment for

16   Kentucky and Tennessee, and that number would increase to $76.9

17   million.

18              MR. LIDDIARD:      Thank you.       No further questions.

19              THE COURT:    Thank you.

20              Any cross-examination?

21              MR. RUDIN:    Yes, Your Honor.

22              THE COURT:    Thank you.        Please proceed.

23                             CROSS-EXAMINATION
24   BY MR. RUDIN:
25   Q.    Morning, Mr. Wrobel.




                          Exhibit 4, Page
                          Exhibit 4, Page 319
                                          319
Case
Case1:15-cv-00321-SKO  Document338-8
     1:15-cv-00321-SKO Document 534-7 Filed
                                        Filed 09/12/23Page
                                            02/13/18    Page
                                                           15 7
                                                              ofof
                                                                 347



                                                                       3-283


 1                                  CERTIFICATE

 2         I certify that the foregoing is a correct transcript from
 3    the electronic sound recording of the proceedings in the above-
 4    entitled matter.
 5
 6    /s/ Elizabeth Reid-Grigsby                  Date:   June 25, 2017

 7    Elizabeth Reid-Grigsby, Transcriber
 8    AAERT CET*D-00145
 9
10
11   /s/ Tracy Gegenheimer                        Date:   June 25, 2017

12    Tracy Gegenheimer, Transcriber
13    AAERT CERT*0-282
14
15
16   /s/ Jennifer Barris                          Date:   June 25, 2017

17    Jennifer Barris, Transcriber
18    AAERT CET*668
19
20
21   /s/ Mary C. Clark                            Date:   June 25, 2017

22    Mary C. Clark, Transcriber
23   AAERT CERT*D-00214
24
25




                          Exhibit 4, Page
                          Exhibit 4, Page 320
                                          320
